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Case
 Case18-27399
      18-27399 Doc
                Claim
                   69-2
                      6-1 Filed
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      18-27399 Doc
                Claim
                   69-2
                      6-1 Filed
                            Filed
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                Claim
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                            Filed
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                Claim
                   69-2
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                            Filed
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                                            Desc Main
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                Claim
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                Claim
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